          Case 5:18-cv-04826-BLF Document 55-3 Filed 03/17/22 Page 1 of 2




1    NORA FRIMANN, City Attorney (93249)
     ARDELL JOHNSON, Assistant City Attorney (95340)
2    MAREN J. CLOUSE, Chief Deputy City Attorney (228726)
     Office of the City Attorney
3    200 East Santa Clara Street, 16th Floor
     San José, California 95113-1905
4    Telephone Number: (408) 535-1900
     Facsimile Number: (408) 998-3131
5    E-Mail Address: cao.main@sanjoseca.gov
6    Attorneys for CITY OF SAN JOSE and OFFICER
     MICHAEL PINA
7
8                               UNITED STATES DISTRICT COURT
9                            NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN JOSE DIVISION

11    JESSICA DOMINGUEZ, INDIVIDUALLY                  Case Number: 5:18-cv-04826-BLF
      AND AS GUARDIAN AD LITEM FOR
12    JACOB DOMINGUEZ, JORDAN                          DECLARATION OF KRISTOFFER
      DOMINGUEZ AND JALIYAH                            FERGUSON IN SUPPORT OF
13    DOMINGUEZ,
                                                       DEFENDANTS’ MOTION FOR SUMMARY
14                        Plaintiffs,                  JUDGMENT
15                 v.                                  Date:         April 21, 2022
16                                                     Time:         9:00 a.m.
      CITY OF SAN JOSE, SAN JOSE POLICE
      DEPARTMENT and DOE POLICE                        Room:         Courtroom 3, 5th Floor
17    OFFICERS 1, 2 AND 3, and DOES,                   Judge:        Hon. Beth Labson Freeman
      inclusive,
18                                                     Trial Date:   August 22, 2022
                          Defendants.
19
20         I, Kristoffer Ferguson, declare:
21         1.     I have personal knowledge of each of the facts set forth in this declaration
22   and can testify competently thereto.
23         2.     I am employed as an officer with the San Jose Police Department (“SJPD”)
24   and have been an SJPD officer since 2007.
25         3.     On September 15, 2017, I was assigned to SJPD’s Covert Response Unit
26   and was part of a group of officers attempting to apprehend subject Jacob Dominguez on a
27   felony warrant for armed robbery. Our group had information that the subject was armed.
28         4.     I and other officers attempted to apprehend the subject at the corner of
29                                           1
      DECLARATION OF KRISTOFFER FERGUSON IN SUPPORT OF                    Case No. 5:18-cv-04826-BLF
30    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                                                             1903684
31
            Case 5:18-cv-04826-BLF Document 55-3 Filed 03/17/22 Page 2 of 2




1    Penitencia Creek and South White Roads in San Jose as he was seated in the vehicle he
2    was driving.
3           5.      I was standing to the right of Officer Pina, facing the driver's side of the
4    vehicle the subject was driving, when I heard him Officer Pina fire his rifle at the subject.

5           6.      Before Officer Pina fired his rifle, I observed the following: I and other officers

6    ordered the subject to put his hands up; the subject put his hands up; then, the subject

7    said something to Officer Pina; the subject looked at Officer Pina and then reached down

8    with both hands; I heard two shots, which I believed were fired by Officer Pina.

 9          7.      Following the shooting, I was transported to SJPD headquarters, where I was

1o   interviewed by a detective from SJPD's Homicide Unit and a detective from the Santa

11   Clara County District Attorney's Office. I told the detectives what I observed about the

12   subject's actions before shots were fired.

13          8.      I did not discuss the subject's actions before the shooting with any police

14   officer before I was interviewed at SJPD headquarters. I did not do that because I believed

15   that SJPD protocols include that an officer who is a witness to an officer-involved shooting

16   should not discuss the incident before being interviewed by detectives.
17
18               I declare under penalty of perjury under the laws of the State of California that
19   the foregoing is true and correct and that this declaration was executed on March             IO ,
20   2022 in San Jose, California.

21

22

23

24

25
26
27

28


      DECLARATION OF KRISTOFFER FERGUSON IN SUPPORT OF                             Case No. 5: 18-cv-04826-BLF
      DEFENDANTS' MOTION FOR SUMMARY JUDGMENT
                                                                                                          1903684
